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 9   CITY AND COUNTY OF SAN FRANCISCO;
     LONDON BREED, Mayor of San Francisco in her official capacity; and
10   CAROL ISEN, Human Resources Director, City and County
     of San Francisco, in her official capacity
11

12
                                   UNITED STATES DISTRICT COURT
13
                                 NORTHERN DISTRICT OF CALIFORNIA
14

15    SELINA KEENE, MELODY FOUNTILA,                 Case No. 22-cv-01587-JSW
      MARK MCCLURE,
16                                                   REPLY TO OPPOSITION TO MOTION TO
             Plaintiffs,                             DISMISS CLAIMS AGAINST DEFENDANTS
17                                                   LONDON BREED AND CAROL ISEN
             vs.
18                                                   [Fed. R. Civ. P. 12(b)(6)]
      CITY and COUNTY OF SAN FRANCISCO;
19    LONDON BREED, Mayor of San Francisco in        Hearing Date:         July 8, 2022
      her official capacity; CAROL ISEN, Human       Time:                 9:00 a.m.
20    Resources Director, City and County of San     Judge:                Hon. Jeffrey S. White
      Francisco, in her official capacity; DOES 1-   Location:             Oakland Courthouse,
21    100,                                                                 Courtroom 5, 2nd Floor
                                                                           (In-Person)
22           Defendants.

23                                                   Date Action Filed:    March 14, 2022
                                                     Trial Date:           None set
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      REPLY TO RESPONSE TO INDIVIDUAL DEFS’ MTN.                                  n:\govlit\li2022\220836\01605776.docx
      TO DISMISS; CASE NO. 22-cv-01587-JSW
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 1                                              INTRODUCTION

 2          There is no basis to retain Title VII or FEHA claims against the Individual Defendants.

 3   Naming them in their “official capacity” is unnecessary and duplicative of the claims against the City.

 4   Plaintiffs have now made it abundantly clear the Individual Defendants are named only as

 5   representatives of their respective departments – the Office of the Mayor and the Department of

 6   Human Resources. Because, as set forth in the motion, these departments lack the legal capacity to sue

 7   or be sued, the Individual Defendants respectfully request the Court grant their Motion to Dismiss with

 8   prejudice.

 9                                   ARGUMENT
     I.     THERE IS NO “JURISDICTIONAL” REASON TO INCLUDE THE INDIVIDUAL
10          DEFENDANTS AS NAMED PARTIES
11          Plaintiffs have two claims for relief in this action for religious discrimination under Title VII
12   and the FEHA. Contrary to Plaintiffs’ unsupported assertions, there is no “jurisdictional” need to
13   maintain claims against either Mayor Breed or Director Isen. (See Opp. at pp. 7-8). The City is not
14   disputing this Court has jurisdiction over Plaintiffs’ employment discrimination claims against their
15   former employer – the City. Nor do Title VII or the FEHA require Plaintiffs to establish precisely who
16   within the City issued or enforced the Vaccination Policy vis-à-vis Plaintiffs.
17          Plaintiffs’ assertion that “[t]he jurisdictional issue raised by the Complaint is whether the
18   offices of the Mayor and/or the Department of Human Resources (DHR) have the power (jurisdiction)
19   to issue a vaccine mandate in the first place” is particularly off-base. (Opp. at 7:19-21). To establish a
20   prima facie case for religious discrimination under either Title VII or the FEHA, Plaintiffs must
21   demonstrate: (1) “a bona fide religious belief, the practice of which conflicts with an employment
22   duty,” (2) that plaintiff “informed [her] employer of the belief and conflict”; and (3) “the employer
23   discharged, threatened, or otherwise subjected [her] to an adverse employment action because of [her]
24   inability to fulfill the job requirement.” Berry v. Department of Soc. Servs., 447 F.3d 642, 655 (9th Cir.
25   2006) (quotation marks omitted); see also Metoyer v. Chassman, 504 F.3d 919, 941 (9th Cir. 2007)
26   (“California courts apply the Title VII framework to claims brought under FEHA.”). Where, as here,
27   the “gravamen” of the complaint is an employer’s failure to accommodate a religious belief or
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 1   practice, the plaintiff must demonstrate her “need for an accommodation was a motivating factor in the

 2   employer’s decision.” E.E.O.C. v. Abercrombie & Fitch Stores, Inc., 575 U.S. 768, 772 & n.2 (2015).

 3   Thus, there is no component of either Plaintiffs’ claims that calls into question the “jurisdiction” (or

 4   power) of the City, its constituent departments, or individual officials to either issue or enforce the

 5   Vaccination Policy. There is therefore no basis to maintain this action against the Individual

 6   Defendants in addition to the City, and they should be dismissed.

 7   II.    THERE IS NO BASIS TO MAINTAIN AN “OFFICIAL CAPACITY” SUIT

 8          The City’s reliance on Hofmann v. City and County of San Francisco is apt. 870 F.Supp.2d 799

 9   (N.D. Cal. 2012). There, the Court held the “City has established by charter that it is the authority to

10   appear and defend” against lawsuits because “departments, appointive boards, commissions and other

11   units of government” have “no independent legal existence apart from the City.” Id. at 802-803

12   (quoting San Francisco City Charter Sections 1.101 and 4.100) (emphasis added). The holding in

13   Hofmann was broad and not limited to any particular claims; it certainly did not carve out claims under

14   Title VII or FEHA, both of which were also asserted by the plaintiffs in Hofmann. Id. at 800.

15          Plaintiffs simultaneously affirm their understanding that Hofmann bars claims against

16   individual departments of the City while conceding they are suing Mayor Breed and Director Isen only

17   as representatives of their “units of government”: The Office of the Mayor and the Department of

18   Human Resources. The City addressed individual liability in addition to official capacity liability in its

19   moving papers because, even though, as Plaintiffs assert, “[it] is axiomatic that Defendant CCSF can

20   only act through its departments and agencies and the executives that are in charge of those

21   departments and agencies,” Plaintiffs declined to voluntarily dismiss the Individual Defendants.

22          Plaintiffs’ confusion on this point may lie with their mistaken belief Title VII and the FEHA

23   require them to establish Monell-type liability. Monell v. New York City Dept. of Social Services, 436

24   U.S. 658 (1978). Plaintiffs assert in their Opposition they are suing Mayor Breed because she is “the

25   individual who committed the constitutional tort [and] was an official with final policy-making

26   authority and that the challenged action itself thus constituted an act of official governmental policy.”

27   Opp. at 6:15-18, quoting Hofmann, 870 F.Supp.2d at 804 (emphasis added). But, Plaintiffs have not

28   alleged any unconstitutional action that would trigger Monell’s requirement to identify specifically the
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 1   City official with “final policy-making authority.” Hofmann, 870 F.Supp.2d at 804 (quoting Gillette v.

 2   Delmore, 979 F.2d 1342, 1346-1347 (9th Cir. 1992)). This requirement applies only to certain

 3   constitutional violations, such as those under 42 U.S.C. §1983, not to claims under Title VII or FEHA.

 4   There is therefore no basis or need to allege claims against either of the Individual Defendants – in

 5   their official capacity or otherwise.

 6   III.   IT WOULD BE FUTILE TO ALLOW FURTHER AMENDMENT TO THE
            COMPLAINT
 7
            There is no basis to permit Plaintiffs an opportunity to amend either of their existing claims as
 8
     against the Individual Defendants because, as set forth in the moving papers, any claims against them
 9
     are “duplicative of the municipal liability claim, and thus subject to dismissal.” Eldridge v. Rochester
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     City School Dist., 968 F.Supp.2d 546, 563 (W.D.N.Y. 2013) (rejecting request to amend Title VII
11
     claim as against employee in their official capacity) (abrogated by Agosto v. New York City Dept. of
12
     Ed., 982 F.3d 86, n.7 (2nd Cir. 2020)); see also Ames v. City of Novato, No. 16-cv-02590-JST, 2016
13
     WL 6024587, *4 (N.D. Cal. Oct. 14, 2016) (collecting cases, “courts have dismissed Title VII claims
14
     against individual employees sued in their official capacities as redundant where the employer is also
15
     named as a defendant.”); Win v. County of Santa Clara, No. 18-CV-00840-LHK, 2018 WL 5603658,
16
     *4 (N.D. Cal. Oct. 29, 2018); Hall v. High Desert Recycling, Inc., No. 03:11-CV-00137-LRH, 2011
17
     WL 2600483, *2 (D. Nev. June 29, 2011) (“[O]fficial capacity claims under Title VII are unnecessary
18
     and duplicative where the plaintiff has also brought a Title VII claim against the alleged employer.”)
19
     (citing Cooke-Seals v. Dist. of Columbia, 937 F.Supp. 184, 187 (D.D.C. 1997)). Plaintiffs do not cite
20
     or argue any additional facts to support the maintenance of their duplicative claims, and the Individual
21
     Defendants therefore respectfully request the Court grant their motion in its entirety.
22
     IV.    THE INDIVIDUAL DEFENDANTS WOULD BE PREJUDICED BY REMAINING
23          NAMED PARTIES

24          Plaintiffs assert without support or authority the Individual Defendants will suffer “no

25   prejudice” by remaining as named parties to this action. (Opp. at p. 8). However, should the Individual

26   Defendants remain parties, they and the City will be responsible for responding to separate discovery

27   requests and, potentially, claims via a motion for summary judgment or at trial. This, in essence,

28   would triple the City’s work to defend against Plaintiffs’ claims even though the claims should be
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 1   maintained only against Plaintiffs’ former employer – the City. This unnecessary duplication of work

 2   is precisely the type of harm the Individual Defendants are seeking to avoid through the present

 3   Motion and why Courts have time-and-again held that claims against individuals in their official

 4   capacity are duplicative of those against the employer itself.

 5                                               CONCLUSION

 6          There is no jurisdictional or other basis to maintain duplicative claims against the Individual

 7   Defendants in their official capacities where, as here, the Plaintiffs have alleged identical claims under

 8   Title VII and the FEHA against the City. The Individual Defendants respectfully request the Court

 9   grant their motion to dismiss with prejudice.

10   Dated: June 9, 2022
11                                                   DAVID CHIU
                                                     City Attorney
12                                                   WAYNE K. SNODGRASS
13                                                   JAMES M. EMERY
                                                     KATE G. KIMBERLIN
14                                                   Deputy City Attorneys

15
                                               By: /s/ Kate G. Kimberlin
16                                                JAMES M. EMERY
                                                  KATE G. KIMBERLIN
17
                                                     Attorneys for Defendants
18                                                   CITY AND COUNTY OF SAN FRANCISCO,
                                                     MAYOR LONDON BREED and CAROL ISEN
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